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                                                                   January 20, 2021
VIA ECF
The Honorable Judge J. Paul Oetken
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

Re:    United States v. Daurell Chavis
       20 Cr. 192 (JPO)

Honorable Judge Oetken:
       I write on behalf of my client, Daurell Chavis, to respectfully request that the Court
modify Mr. Chavis’s bail conditions to remove the condition of curfew as directed by Pretrial
Services and enforced by location monitoring. This is Mr. Chavis’s third bail modification
request. Pretrial Services consent to this request; the Government opposes this request.
        On February 11, 2020, Magistrate Judge Robert W. Lehrburger released Mr. Chavis on
his own signature and imposed the following bail conditions: a $50,000 personal recognizance
bond, cosigned by two financially responsible persons; travel restricted to SDNY/EDNY;
surrender of all travel documents and no new applications; pretrial supervision as directed by
Pretrial Services; urinalysis; home detention with GPS monitoring; surrender of all weapons and
firearms; and no contact with co-defendants unless in the presence of counsel. Mr. Chavis’s bail
conditions were timely satisfied.
       On February 21, 2020 before Magistrate Judge Sarah Cave, the defense requested that
Mr. Chavis’s bail conditions be modified to remove home detention and electronic monitoring.
Magistrate Judge Cave denied this request. On June 2, 2020, with the consent of Pretrial Services
and the Government, the defense again requested that Mr. Chavis’s bail conditions be modified
to remove home detention and electronic monitoring. The following day, the Court granted the
bail modification, removing the condition of home detention and replacing it with a curfew as
determined by Pretrial Services with GPS location monitoring.
       Since Mr. Chavis’s last bail modification request, he has continued to comply with his
conditions of release. Mr. Chavis is the primary caretaker and single parent of his young
daughter who lives with him. In addition, Mr. Chavis receives dialysis treatment, which requires
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him to travel to a medical facility three days a week. Mr. Chavis has now been under
supervision for nearly a year. In that time, he has remained fully compliant with his conditions
of release and has incurred no new arrests. Over the past several months, Mr. Chavis has
demonstrated that a curfew enforced by location monitoring is unnecessary to reasonably ensure
the safety of the community and his return to court. Indeed, at Mr. Chavis’s initial presentment,
Pretrial Services did not recommend location monitoring as a necessary condition of release.
        Accordingly, the defense requests a bail modification to remove the condition of curfew
as directed by Pretrial Services enforced by GPS monitoring. Pretrial Services consents to this
request; the Government objects to this request.
       Thank you for your consideration of this matter.


                                                    Respectfully submitted,
                                                    /s/
                                                    Marne L. Lenox
                                                    Assistant Federal Defender
                                                    (212) 417-8721
                              SO ORDERED:
                         Denied.
                           So ordered: 1/28/2021




                              _____________________________________
                              HONORABLE J. PAUL OETKEN
                              UNITED STATES DISTRICT JUDGE




cc:    Ni Qian, Assistant U.S. Attorney (via ECF)
       Sheb Swett, Assistant U.S. Attorney (via ECF)
       Joshua Rothman, Intensive Supervision Specialist (via E-mail)




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